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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


                                   )
LAS AMERICAS IMMIGRANT             )
ADVOCACY CENTER, et al.,           )
                                   )
          Plaintiffs,              )
                                   )
v.                                 )     Civil Action No. 1:24-cv-1702-RC
                                   )
U.S. DEPARTMENT OF HOMELAND        )
SECURITY, et al.,                  )
                                   )
          Defendants.              )
                                   )



          DEFENDANTS’ OPPOSITION TO MOTION TO INTERVENE
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                                       INTRODUCTION

       The State of Texas seeks to intervene in this suit assertedly to help the United States defend

an Interim Final Rule (“IFR”) promulgated by the Department of Homeland Security (“DHS”) and

the Department of Justice (“DOJ”) (collectively, “the Departments”) in June 2024, and a DHS-

issued memorandum (“Consultation Memo”). The IFR and Consultation Memo were promulgated

following a Presidential Proclamation suspending and limiting entry into the United States for

certain categories of noncitizens. The IFR imposes a limit on asylum eligibility and modifies the

asylum and protection screening process while the conditions described in the Proclamation exist.

And during such periods, the Consultation Memo provides a shorter time period for noncitizens

who are preparing for such screenings to consult with a person of their choice. Although the federal

government is vigorously defending the IFR and Consultation Memo issued just two months ago,

Texas now seeks to intervene, claiming the federal government cannot adequately defend the IFR

and protect Texas’s interests.

       Texas’s motion should be denied. Texas has not even attempted to establish Article III

standing, a requirement to intervene in this case. It also has not established any significant

protectable interest in the continued implementation of the IFR or the Consultation Memo

challenged in this suit. Texas has not demonstrated that the federal government inadequately

represents its asserted interest in maintaining the IFR or Consultation Memo. And Texas’s

proposed intervention is precluded by numerous equitable and practical concerns, including that

its intervention would undermine Congress’s policy choice to give authority over the federal

government’s litigation to the Attorney General and Solicitor General.
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                                         BACKGROUND

       In June 2024, the President signed a Proclamation suspending and limiting the entry of

certain categories of noncitizens. Securing the Border, 89 Fed. Reg. 48,487 (June 3, 2024)

(“Proclamation”). The President found that, because of recent irregular arrivals of migrants in large

numbers at the nation’s southwest border, the border security and immigration systems of the

United States were severely strained, such that entry of certain categories of noncitizens across the

southern border was detrimental to the interests of the United States. Id. The next day, the

Departments promulgated an IFR that effectuates changes to the process for noncitizens, who are

described in the Proclamation, seeking asylum and related forms of protection who enter during

the emergency border circumstances identified in the Proclamation. Securing the Border, 89 Fed.

Reg. 48,710 (June 7, 2024); id. at 48,710 (stating that the IFR became effective at 12:01 a.m.

eastern daylight time on June 5, 2024). The IFR implements three key changes as to those

noncitizens covered by the Proclamation: (1) it renders certain noncitizens who enter across the

southern and coastal borders during emergency border circumstances ineligible for asylum unless

they can establish exceptionally compelling circumstances or are excepted by the Proclamation;

(2) it applies that limitation on asylum eligibility during credible fear interviews and screens those

subject to the limitation for other forms of protection under a heightened “reasonable probability”

standard; and (3) it changes the way DHS screens noncitizens, providing that DHS will refer

noncitizens for credible fear interviews only if they affirmatively manifest or express a fear of

return or an intent to seek asylum. Id. Supporting the implementation of the IFR, DHS issued the

Consultation Memo, which provides that during the emergency border circumstances described in

the Proclamation, DHS will reduce the period in which a noncitizen may consult with a person of

their choosing under 8 U.S.C. § 1225(b)(1)(B)(iv) from a minimum of twenty-four hours to a

minimum of four hours (in accordance with specified rules).


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       Following the promulgation of the IFR and Consultation Memo, Plaintiffs—individual

noncitizens who allege they were subject to the IFR or Consultation Memo and two organizations

that provide legal services to noncitizens seeking asylum, First Am. Compl. ¶¶ 10-25—challenged

the Rule and Consultation Memo under the Administrative Procedure Act. This case was filed on

June 12, 2024, and the parties proposed a quick summary judgment briefing schedule that the

Court endorsed. ECF Nos. 10, 22; Court orders dated July 1, 2024, July 26, 2024. The parties are

already in the middle of briefing: Plaintiffs’ motion for summary judgment was filed on July 26,

2024. ECF No. 23.

       On July 19, 2024, Texas moved to intervene. ECF No. 19. At a high level, Texas claims an

interest in the IFR’s continued implementation. Texas generally speculates that the federal

government “cannot be trusted to defend or enforce” the Rule. Memorandum of Law in Support

of Motion, ECF No. 19-1 (“Mot.”) at 16.

                                           ARGUMENT

       This Court should deny Texas’s motion to intervene. Texas primarily asks this Court to

allow it to intervene as of right. See Mot. 11-21. And Texas also briefly suggests that it should also

be permitted permissive intervention. See Mot. 21-22. Neither of those arguments has merit.

       To intervene as of right, “1) the application to intervene must be timely, 2) the party must

have an interest relating to the property or transaction which is the subject of the action, 3) the

party must be so situated that the disposition of the action may, as a practical matter, impair or

impede the party’s ability to protect that interest, and 4) the party’s interest must not be adequately

represented by existing parties to the action.” Defs. of Wildlife v. Perciasepe, 714 F.3d 1317, 1322–

23 (D.C. Cir. 2013); see also Fed. R. Civ. P. 24(a)(2); Jones v. Prince George’s Cnty., 348 F.3d

1014, 1017 (D.C. Cir. 2003) (listing the four elements of Rule 24(a) as “timeliness, interest,

impairment of interest, and adequacy of representation”). In addition, an applicant seeking to


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intervene as of right under Rule 24(a) must possess Article III standing to participate in the lawsuit.

See Jones, 348 F.3d at 1017. In determining whether permissive intervention is appropriate, courts

assess whether the putative intervenor has presented: “(1) an independent ground for subject matter

jurisdiction; (2) a timely motion; and (3) a claim or defense that has a question of law or fact in

common with the main action.” E.E.O.C. v. Nat’l Child.’s Ctr., Inc., 146 F.3d 1042, 1046 (D.C.

Cir. 1998).

        Here, Texas fails to demonstrate a basis for intervening. Texas has not shown it has Article

III standing, a requirement to intervene in this case. It also lacks the concrete interest in this suit

required by the standard for intervention as of right. Texas also cannot show that the federal

government inadequately represent its asserted interest in the IFR’s enforcement and the

administration of the Consultation Memo. Finally, Texas presents no cognizable or substantial

equitable or practical reason to permit its participation in this suit.

  I.    INTERVENTION AS OF RIGHT SHOULD BE DENIED.

              A.    Texas Lacks a Concrete Interest in This Suit.

        Intervention is designed to allow parties with a cognizable interest in the transaction or

other subject of the litigation to participate in the litigation in order to ensure that their interests

are not compromised in their absence. Two related doctrines require putative intervenors to

demonstrate a legally cognizable interest that might be affected by the case: Article III standing

and the requirement of a judicially cognizable interest for purposes of intervention. Texas here has

no such interest. The Supreme Court has made clear that States have no cognizable interest for

standing purposes in the enforcement of the immigration laws against third parties,

notwithstanding any indirect effect that federal immigration policies may have on conditions

within the States. And the D.C. Circuit has squarely held that the indirect impact that a federal

immigration policy may have on the population of a state and the demand on its resources is


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insufficient to support Article III standing. Given that Texas does not even have Article III

standing, it has also failed to establish a distinct interest in the litigation as required for

intervention.

                1. Texas cannot establish standing.

       As an initial matter, in order to intervene in this litigation, Texas is required to establish

Article III standing. See Deutsche Bank Nat. Tr. Co. v. F.D.I.C., 717 F.3d 189, 193 (D.C. Cir.

2013) (“It is therefore circuit law that intervenors must demonstrate Article III standing.”) citing

Fund For Animals, Inc. v. Norton, 322 F.3d 728 (D.C. Cir. 2003); see also Old Dominion Elec.

Coop. v. FERC, 892 F.3d 1223, 1232 (D.C. Cir. 2018) (“Intervenors become full-blown parties to

litigation, and so all would-be intervenors must demonstrate Article III standing.”). Texas does not

even attempt to prove Article III standing, claiming instead that it is not required to show standing

since “it is not pursuing ‘relief that is different from that which is sought by a party with standing’”

and, in fact, “it is not seeking any relief at all.” Mot. at 11 (quoting Town of Chester v. Laroe

Estates, Inc., 581 U.S. 433, 440 (2017)). This is wrong under unambiguous Circuit case law. The

Supreme Court held in Town of Chester that an intervenor of right who seek distinctive relief must

demonstrate its own Article III standing, 581 U.S. at 439, but it did not consider whether all

intervenors must do so. The decision thus “does not cast doubt upon, let alone eviscerate” settled

D.C. Circuit precedent “that all intervenors must demonstrate Article III standing.” Old Dominion

Elec. Coop., 892 F.3d at 1233, n. 2; see also Deutsche Bank, 717 F.3d at 193 (rejecting the

argument that “defendant-intervenors . . . are not obliged to demonstrate Article III standing at

all.”); Cf. Dellums v. United States Nuclear Regulatory Comm’n, 863 F.2d 968, 987 n.11 (D.C.

Cir. 1988) (intervening Supreme Court precedent must clearly dictate a departure from circuit law

before a subsequent panel is free to discard an earlier panel’s holding). As Texas has not even tried




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to show Article III standing, and Texas cannot be allowed to show Article III standing for the first

time on reply, it has forfeited this argument and the motion must be denied.

       Regardless, Texas is unable to show it has standing because it cannot show a legally

cognizable injury that would be caused by vacatur of the challenged IFR. Article III standing

requires a showing of injury-in-fact, causation, and redressability. Lujan v. Defenders of

Wildlife, 504 U.S. 555, 560-561 (1992). The injury alleged must be a “legally and judicially

cognizable” injury tied to the conduct that Texas is challenging. United States v. Texas, 599 U.S.

670, 676 (2023) (quotation omitted). The injury must also be “actual or imminent, not conjectural

or hypothetical.” Deutsche Bank, 717 F.3d at 193.

       The general costs to the State that Texas asserts would result from a projected increase in

the number of noncitizens should the IFR be vacated do not constitute a “judicially cognizable”

injury as they are only hypothetical nor are they sufficient to show a “legally protected” interest.

Raines v. Byrd, 521 U.S. 811, 819 (1997). A State “has not suffered an injury in fact to a legally

cognizable interest” when “a federal government program is anticipated to produce an increase in

that state’s population and a concomitant increase in the need for the state’s resources.” Arpaio v.

Obama, 27 F. Supp. 3d 185, 202 (D.D.C. 2014), aff’d, 797 F.3d 11 (D.C. Cir. 2015). “To accept

such a broad interpretation of the injury requirement would permit nearly all state officials to

challenge a host of Federal laws.” Id.; see also, e.g., Florida v. Mellon, 273 U.S. 12, 18 (1927)

(holding that Florida lacked standing to challenge a federal inheritance tax that would cause the

State financial harm by prompting the withdrawal of property from the State and diminishing the

States’ tax base, because any such harm was “at most, only remote and indirect”). A State therefore

also necessarily suffers no cognizable interest or a sufficient injury-in-fact if the vacatur of a

federal program results in an increase in population and therefore in costs of providing services.




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        Here, an order vacating the IFR and Consultation Memo—an order the federal government

does not want and continues to defend against—would not directly injure Texas in a legally and

judicially cognizable manner. This is not a situation where the federal government has required a

State to act or to refrain from acting, determined how much federal funding a State receives, or

deprived a State of a legal right. The IFR and Consultation Memo merely guide federal officials

on how to enforce and administer federal law in a field that the Constitution commits solely to the

federal government. The indirect effects of those actions on States—and the indirect results of

vacating those actions—do not qualify as “legally” and “judicially cognizable” injuries. Raines,

521 U.S. at 819. In our federal system, which allows the federal and state governments to operate

on individuals “within their respective spheres,” Printz v. United States, 521 U.S. 898, 920 (1997)

(citation omitted), independently of each other, it is hardly surprising that federal policies may

have indirect and derivative effects on a state’s resources and regulatory reach. But that is the

inevitable consequence of the federal structure established by the Framers, and it does not support

the notion that a State has a judicially cognizable interest in avoiding or maintaining the indirect

effects of federal policies.

        The Supreme Court’s recent decision in Texas, 599 U.S. 670, reinforces the conclusion that

Texas has no cognizable interest in the resolution of this case. In brief, the IFR’s direct effect is,

in part, to impose a presumption of asylum ineligibility on certain noncitizens in the exercise of

the Executive’s discretion and thereby potentially subject those noncitizens to removal, including

expedited removal, if appropriate. Vacating the IFR would eliminate these effects. But third

parties—including Texas—have no “judicially cognizable interest in the prosecution or

nonprosecution of another.” Linda R.S. v. Richard D., 410 U.S. 614, 619 (1973). An entity that

does not face prosecution “lacks standing to contest the policies of the prosecuting authority.” Id.




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An entity similarly has “no judicially cognizable interest in procuring” or preventing “enforcement

of the immigration laws” against someone else. Sure-Tan, Inc. v. NLRB, 467 U.S. 883, 897 (1984).

       In Texas, the Supreme Court applied those principles to hold that two States lacked

standing to challenge the Executive’s immigration enforcement priorities. See Texas, 599 U.S. at

676. In so holding, the Court rejected the States’ argument that they had standing because, for

example, the States might spend money on incarceration and social services for “noncitizens who

should be (but are not being) arrested by the Federal Government.” Id. at 674. The Supreme Court

held that the States’ asserted injury, which flowed from the Executive’s exercise of immigration

enforcement discretion against third parties, did not overcome the rule of Linda R.S. and Sure-Tan

that no one, including a State, has standing to challenge the exercise of enforcement discretion

against others. See id. at 676-78. Here, as in Texas, the potential downstream effect that a State

might expend more on state programs in response (in this case to a vacatur of the IFR) does not

overcome that barrier to standing. Accord Washington v. FDA, No. 23-35294, 2024 WL 3515765,

at *8-9 (9th Cir. July 24, 2024).

       The Ninth Circuit recently also came to a similar conclusion when five States moved to

intervene in a similar case brought by organizations challenging a rule implementing immigration

policy. In East Bay Sanctuary Covenant v. Biden, five States sought to intervene, claiming an

interest in preserving the challenged rule, largely based on downstream economic effects on the

States, alleging the federal government could not adequately represent their interests—the same

arguments Texas makes here. 102 F.4th 996, 1000 (9th Cir. 2024). The Ninth Circuit denied the

motion, holding the States did not have a significant protectible interest in maintaining the rule.

“Although ‘federal policies frequently generate indirect effects on state revenues or state

spending,’ states have no legally protectible interest in compelling enforcement of federal

immigration policies.” Id. at 1002, citing Texas, 599 U.S. at 677-80. Specifically, the State’s


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professed interest in avoiding increased expenditures was not a significant protectible interest

because the claimed expenditures were not directly connected to the challenged rule. “While an

economic interest may be sufficient to support a right of intervention, it must be concrete and

related to the underlying subject matter of the action.” East Bay, 102 F.4th at 1002 (internal

citations omitted). Even if the outcome of a case may affect state expenditures, “such incidental

effects are not at issue in the litigation and are, in any event, attenuated and speculative.” Id.

       The injuries Texas claims here are similarly “attenuated and speculative.” These principles

squarely preclude Texas’s claim to standing. Texas here claims an interest in the continued

implementation of a discretionary immigration enforcement policy on the basis that any reversal

of the policy would cause Texas to make additional expenditures—“provid[ing] benefits” to

noncitizens and “encountering administrative burdens.” Mot. at 13. But like the States in Texas,

Texas here cannot leverage the incidental, downstream effects of vacating enforcement policies

directed at third parties that may lead it to make additional expenditures to create standing.

Furthermore, even though the Complaint discusses the decreased consultation period described in

the Consultation Memo in detail, Texas entirely fails to explain why it believes it has any interest

in the implementation of that Memo. See generally, Mot.

       Finally, Texas admits in its motion that it does not intend to defend the IFR in full, as the

federal government does, and therefore admits that it is seeking a different outcome from the

government. Mot. at 21 (“Even if Defendants could be trusted to defend the sources of authority

behind the IFR, Texas—unlike them—has no interest in defending the exceptions to the IFR. […]

Defendants will defend the IFR on the bases of these exceptions—Texas will not.”) (emphasis in

original). Where, as here, an intervenor would “seek[] additional relief beyond that which the”

parties seek, “an intervenor of right must demonstrate Article III standing.” Laroe Ests., 581 U.S.

at 439; see also Diamond v. Charles, 476 U.S. 54, 68 (1986) (when an intervenor seeks to


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“continue a suit in the absence of the party on whose side intervention was permitted,” the

intervenor must demonstrate its own standing). As a result, Texas must show independent Article

III standing to intervene in this case and they have failed to do so.

               2. Texas has not identified a significantly protectable interest.

       To support a request for intervention as of right, a prospective intervenor needs to

demonstrate, among other things, a “significantly protectable interest” at stake in the litigation.

Donaldson v. United States, 400 U.S. 517, 531 (1971); see also Fed. R. Civ. P. 24(a)(2). As the

Supreme Court has made clear, that barrier requires that a prospective intervenor do more than

articulate some asserted harm or interest related to the action; instead, the intervenor must

demonstrate that the interest in question is “legally protectible.” Tiffany Fine Arts, Inc. v. United

States, 469 U.S. 310, 315 (1985); see Diamond, 476 U.S. at 75 (O’Connor, J., concurring in part

and concurring in the judgment) (“Clearly, Donaldson’s requirement of a ‘significantly protectable

interest’ calls for a direct and concrete interest that is accorded some degree of legal protection.”);

City of Cleveland, Ohio v. Nuclear Regul. Comm’n, 17 F.3d 1515, 1517 (D.C. Cir. 1994) (“The

rule impliedly refers not to any interest the applicant can put forward, but only to a legally

protectable one.”).

       The Supreme Court has made clear that satisfying that standard requires a substantially

more direct interest than does Article III and that indirect financial harms—like those claimed by

Texas—do not suffice. For example, in Donaldson, the government sought to enforce

administrative summonses issued by the Internal Revenue Service to Donaldson’s former

employer and its accountant for records related to Donaldson’s tax liability. 400 U.S. at 518-20.

The Supreme Court rejected Donaldson’s argument that he could intervene in that suit as of right.

Even assuming that the employer’s and accountant’s disclosure of records potentially establishing

Donaldson’s tax liability would have injured him in an Article III sense, the Court concluded that


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Donaldson’s claimed interest “cannot be the kind contemplated by Rule 24(a)(2)” because it was

not independently legally protected. See id. at 530-31. Likewise here, following Texas’s chain of

cascading hypotheticals—the IFR being vacated would result in more people entering the State,

and that would cause the State to spend more money on services for those people, and the Court

found that was sufficient to show Article III injury—it would still not be enough for Texas to show

it has an interest in the outcome of this case sufficient to intervene as of right.

        Moreover, Texas does not have a legally protectable interest in the focus of the challenges

at the core of this suit—the Departments’ adoption of policies and procedures relating to credible

fear and grants of asylum—because it is excluded from the special judicial review scheme for such

policies and procedures. Specifically, 8 U.S.C. § 1252(a)(2)(A) generally bars judicial review of

“procedures and policies adopted . . . to implement” the expedited removal provisions. Although

8 U.S.C. § 1252(e)(3) restores narrow jurisdiction to consider very specific claims under very

specific circumstances, such suits may be brought only by noncitizens—not advocacy

organizations or States. See Am. Immigr. Laws. Ass’n v. Reno, 199 F.3d 1352, 1359 (D.C. Cir.

2000) (finding no jurisdiction to consider suit brought by organizations seeking third-party

standing, stating “[f]rom all we can gather, Congress must have contemplated that lawsuits

challenging [actions] would be brought, if at all, by individual aliens who—during the sixty-day

period—were aggrieved by the statute’s implementation”); Make The Rd. New York v. Wolf, 962

F.3d 612, 628 (D.C. Cir. 2020) (explaining that organizations suing on behalf of individual

noncitizens invoking an associational standing theory of Article III injury may sue under section

1252(e)(3)); see also Grace v. Barr, 965 F.3d 883, 891 (D.C. Cir. 2020) (section 1252(e) covers

“agency [regulations or] policies governing credible-fear interviews”). Given that Texas is not

contemplated within this narrowly tailored review scheme, it cannot have a legally protectable

interest in this suit.


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       Texas’s claimed interest in this litigation stems from its assertions that, if the government

were to stop defending or implementing the IFR, it would experience various downstream

economic impacts. (Texas make no mention of the projected impact of any failure to defend the

Consultation Memo.) As explained, those asserted concerns are noncognizable and speculative

and cannot support even Article III standing let alone establish a legally protected interest under

Rule 24(a)(2)’s standard. The motion thus fails for this reason as well.

           B.      Texas’s Asserted Interest in the IFR’s Enforcement is Adequately
                   Represented by the Federal Government.

       Regardless, Texas has not demonstrated that its interests are not “adequately represent[ed]”

by the federal government as required to obtain intervention as of right. The federal government

has shown no indication it will fail to continuously and vigorously defend the IFR and Consultation

Memo, and Texas has no basis to say otherwise.

       As an initial matter, there can be no dispute that the federal government is defending the

challenged IFR and Consultation Memo. These policies were adopted just two months ago, and

the IFR explains at length why it is necessary. The Department of Justice is vigorously defending

the IFR and the Consultation Memo. Per the parties’ agreed-upon schedule, the federal government

will move for summary judgment in just two weeks, arguing that the challenges to the IFR and

Consultation Memo all fail as a matter of law. The federal government is thus more than adequately

representing Texas’s interests.

       Indeed, Texas’s alleged interests in defending this case will be more than adequately

represented by the federal government because, unlike Texas, the federal government is seeking

to defend the entire IFR, and not just parts of it. As discussed supra, Texas is interested in

defending only the portions of the IFR it deems to be valid, while also arguing that the exceptions

“frustrate the stated aim” of the IFR and admitting it will not defend those exceptions. Mot. at 21.



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The federal government, by contrast, will defend the entire IFR—including the portions Texas is

interested in. It is therefore clear Texas’s interests in defending the IFR will be adequately

represented by the federal government and Texas’s involvement is not needed. Indeed, should

Texas be permitted to intervene and then decide it wants to challenge the exceptions to the IFR,

Texas’s involvement will serve only to obstruct the government’s case.

       In attempting to make the necessary showing, Texas claims the “Biden Administration has

a history of collapsing in its defense of immigration policies” and points to the litigation of the

Public Charge rule and a related lawsuit. Mot. at 17-21, citing Dep’t of Homeland Sec. v. New

York, 141 S. Ct. 1370 (2021). Texas claims the federal government wrongly abandoned its defense

of the Public Charge rule following an adverse decision by the district court. Id. The federal

government disputes that its decision not to appeal the adverse decision in the circumstances of

that case was in any way improper. But, in any event, that decision says nothing about the

Government’s defense in the present action. This case challenges a different rule—one that was

just adopted two months ago. And the government is vigorously defending that rule.

       The federal government intends to continue defending the IFR and Consultation Memo,

and nothing in Texas’s motion supports a contrary conclusion.

 II.   PERMISSIVE INTERVENTION SHOULD BE DENIED.

       As explained, Texas has no substantial interest in this suit, which concerns the Executive’s

implementation of discretionary immigration enforcement policies and procedures over which the

federal government—not the States—has sole authority. Allowing Texas to nevertheless intervene

would raise substantial practical and equitable concerns that should preclude its participation in

this suit. In determining whether permissive intervention is appropriate, courts assess whether the

putative intervenor has presented: “(1) an independent ground for subject matter jurisdiction; (2)




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a timely motion; and (3) a claim or defense that has a question of law or fact in common with the

main action.” E.E.O.C., 146 F.3d at 1046.

       First, as discussed above, Texas cannot establish Article III standing. If the Court were to

permit intervention despite a lack of standing, “then any organization or individual with only a

philosophic identification with a defendant—or a concern with a possible unfavorable precedent—

could attempt to intervene and influence the course of litigation.” Deutsche Bank, 717 F.3d at 195

(Silberman, J., concurring) (stating that a party seeking permissive intervention must establish

standing). Regardless, where, as here, an intervenor would “seek[] additional relief beyond that

which the” parties seek, “an intervenor of right must demonstrate Article III standing.” Laroe Ests.,

581 U.S. at 439; see also Diamond, 476 U.S. at 68 (when an intervenor seeks to “continue a suit

in the absence of the party on whose side intervention was permitted,” the intervenor must

demonstrate its own standing).

       The same logic applies to permissive intervenors: “For all relief sought, there must be a

litigant with standing,” Laroe Ests., 581 U.S. at 439, regardless of how that litigant joins the suit.

See Old Dominion Elec. Coop., 892 F.3d at 1232 (“Intervenors become full-blown parties to

litigation, and so all would-be intervenors must demonstrate Article III standing.”). Texas here

does not merely intend to participate in the litigation as the parties have formulated it—which it

could in any event have done as an amicus—but rather seeks to intervene to defend only portions

of the IFR because it believes the federal government “cannot be trusted to defend or enforce” the

IFR. Mot. at 16. Texas’s stated intent to defend only portions of the IFR, rather than the entire IFR

like the federal government, shows it is seeking different relief than the federal government and

thus must demonstrate standing—which it cannot demonstrate.

       Second, permitting intervention here would undermine the authority that Congress has

placed in the Executive Branch to conduct litigation. Texas’s apparent justification for intervening


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would be to permit it to defend the IFR if the federal government were (contrary to all indications)

to stop defending it. But it would be inappropriate to permit third parties—and especially third

parties with such a marginal interest in the suit—to intervene in that (hypothetical) situation. By

statute, the “Solicitor General” and other “officer[s] of the Department of Justice” as the Attorney

General may direct have responsibility for “attend[ing] to the interests of the United States” in the

courts. 28 U.S.C. § 517. As the Supreme Court has explained, vesting this authority in the Attorney

General and Solicitor General “represents a policy choice by Congress.” FEC v. NRA Political

Victory Fund, 513 U.S. 88, 96 (1994). There is certainly no basis to permit Texas to intervene and

seek to peremptorily usurp this authority, especially at this time, when there is no indication that

the federal government intends to take any action that might be contrary to Texas’s interests in the

ultimate outcome of this litigation.

                                         CONCLUSION

       For the foregoing reasons, the Court should deny the motion to intervene.

                                              Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on August 2, 2024, I electronically filed the foregoing document with

the Clerk of the Court for the United States Court District Court for the District of Columbia by

using the CM/ECF system. Counsel in the case are registered CM/ECF users and service will be

accomplished by the CM/ECF system.

                                By: /s/ Erin T. Ryan
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